                                         Case 18-32124-sgj7           Doc 64    Filed 01/31/22
                                                                                         FORM 1
                                                                                                Entered 01/31/22 15:06:41                                  Desc Main
                                                                               Document      Page 1 of 2
                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                  Page:       1
                                                                                            ASSET CASES
Case No:          18-32124      SGJ      Judge: STACEY G. JERNIGAN                                                             Trustee Name:                     ROBERT YAQUINTO, JR., TRUSTEE
Case Name:        THE LONGABERGER COMPANY                                                                                     Date Filed (f) or Converted (c):   10/26/18 (c)
                                                                                                                              341(a) Meeting Date:               11/27/18
For Period Ending: 12/31/21                                                                                                   Claims Bar Date:                   02/26/19



                                     1                                        2                         3                          4                         5                                 6
                                                                                               Estimated Net Value
                                                                          Petition/       (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                            Asset Description                            Unscheduled         Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                (Scheduled and Unscheduled (u) Property)                   Values               and Other Costs)           OA=554(a) Abandon             the Estate

 1. CENTURY NATIONAL BANK - CHECKING ACCOUNT                                       0.00                             0.00                                              0.00                  FA
 2. BBVA COMPASS - CHECKING ACCOUNT                                                0.00                             0.00                                              0.00                  FA
 3. BBVA COMPASS - CHECKING ACCOUNT                                                0.00                             0.00                                              0.00                  FA
 4. BBVA COMPASS - CHECKING ACCOUNT                                                0.00                             0.00                                              0.00                  FA
 5. BBVA COMPASS - CHECKING ACCOUNT                                                0.00                             0.00                                              0.00                  FA
 6. BBVA COMPASS - CHECKING ACCOUNT                                                0.00                             0.00                                              0.00                  FA
 7. Accounts Receivable                                                      29,795.42                        29,795.42                                               0.00                  FA
     OVER 90 DAYS OLD

     *UNCOLLECTABLE
 8. NON-PUBLICLY TRADED STOCKS/INTERESTS                                           0.00                             0.00                                              0.00                  FA
     TMRCL HOLDING CO. - 100%
 9. NON-PUBLICLY TRADED STOCK AND INTERESTS                                        0.00                             0.00                                              0.00                  FA
     TMRCL HOLDING, LLC
 10. NON-PUBLICLY TRADED STOCK AND INTERESTS                                       0.00                             0.00                                              0.00                  FA
     THE LONGABERGER COMPANY CANADA
 11. FINISHED GOODS - BASKETS - COST BASIS                                 2,509,358.00                     2,509,358.00                                         94,680.04                  FA
     SEE ATTACHED EXHIBIT "A"
     COGS IS 23%. ASSUMING THAT, RETAILVALUE IS
     APPROXIMATELY $10,910,252.
 12. OFFICE FURNITURE AND EQUIPMENT                                         100,985.94                       100,985.94                                               0.00                  FA
 13. OFFICE EQUIPMENT- INCLUDING COMP EQUIP/SOFTWARE                       1,187,674.36                     1,187,674.36                                              0.00                  FA
 14. REAL PROPERTY - MUSKINGUM COUNTY, OHIO                                 100,000.00                       100,000.00           OA                                  0.00                  FA
     APN 10-04-06-01-000      LAND

     *NOTICE OF INTENT TO ABANDON TO BE FILED - TAXES DUE




LFORM1                                                                                                                                                                                                     Ver: 22.04a
                                           Case 18-32124-sgj7                   Doc 64   Filed 01/31/22
                                                                                                  FORM 1
                                                                                                         Entered 01/31/22 15:06:41                                          Desc Main
                                                                                        Document      Page 2 of 2
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                             Page:        2
                                                                                                            ASSET CASES
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                                                                                                                                               341(a) Meeting Date:                11/27/18
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                                       1                                                    2                            3                          4                         5                                    6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

     WORTH MORE THAN THE LOT
 15. TRADEMARKS                                                                            15,000.00                           15,000.00                                          125,000.00                     FA
 16. DOMAIN NAMES                                                                            5,000.00                            5,000.00                                         125,000.00                     FA
 17. CUSTOMER LISTS                                                                        20,000.00                           20,000.00                                          125,000.00                     FA
 18. CAUSES OF ACTIONS AGAINST THIRD PARTIES                                           10,000,000.00                     10,000,000.00                                                  0.00                    10,000,000.00
     JRJR33, INC. DBA JRJR NETWORKS V. TAMALA
     LONGABERGER, INDIVIDUALLY AND A TRUSTEE UNDER THE
     TAMALA L. LONGABERGER REVOCABLE TRUST CASE
     #DC-16-12594.
     BREAH OF REPS & WARRANTIES
 19. FROST BANK - DIP (u)                                                                        0.00                            5,395.05                                           5,395.05                     FA
 20. D&O SETTLEMENT (u)                                                                          0.00                        1,600,000.00                                     1,600,000.00                               0.00

                                                                                                                                                                                                  Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                   $13,967,813.72                     $15,573,208.77                                       $2,075,075.09                     $10,000,000.00
                                                                                                                                                                                                  (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   D&O LAWSUIT SETTLED AND PAYMENT RECEIVED. ACTITECH LAWSUIT PENDING AND SET FOR TRIAL IN APRIL, 2022. ESTIMATED DATE OF
   CLOSING IS 10/31/2022.THIS CASE IS RELATED TO JRJR33, INC. 18-32123.


   Initial Projected Date of Final Report (TFR): 11/01/19           Current Projected Date of Final Report (TFR): 10/31/22




LFORM1                                                                                                                                                                                                                          Ver: 22.04a
